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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     R O M E DIVISION



 PATRICIA KENNEDY,
               Plaintiff(s),
                                                        CIVIL ACTION FILE
 vs.
                                                         NO. 4:20-CV-00069-LMM
 SHRINATHJI-KRUPA, INC.,
               Defendant(s).


                            ATTORNEY FEE JUDGMENT

       This action having come before the court, Honorable Leigh Martin May, United States

District Judge, for consideration of Plaintiff’s Motion for Fees and Expenses, and the court

having granted said motion, it is

       Ordered and adjudged that Plaintiff is awarded $4,857.50 in attorneys’ fees and

$1,740.00 in costs and fees of litigation for a total of $6,597.50.

       Dated at Atlanta, Georgia this 3rd day of March, 2021.


                                                       JAMES N. HATTEN
                                                       CLERK OF COURT



                                                 By:   s/ T. Frazier
                                                       Deputy Clerk
Prepared, filed, and entered in
the Clerk's Office
March 3, 2021
James N. Hatten
Clerk of Court


By:    s/ T. Frazier
       Deputy Clerk
